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 1   STEVEN G. KALAR
     Federal Public Defender
 2   Northern District of California
     ELLEN LEONIDA
 3   Assistant Federal Public Defender
     19th Floor Federal Building - Box 36106
 4
     450 Golden Gate Avenue
 5   San Francisco, CA 94102
     Telephone: (415) 436-7700
 6   Facsimile: (415) 436-7706
     Email: Ellen_Leonida@fd.org
 7

 8   Counsel for Defendant Talley
 9

10                                  IN THE UNITED STATES DISTRICT COURT
11                             FOR THE NORTHERN DISTRICT OF CALIFORNIA
12                                        SAN FRANCISCO DIVISION
13

14     UNITED STATES OF AMERICA,                             CR 19–605 RS
15                     PLAINTIFF,                            MOTION, NOTICE OF MOTION, AND
                                                             MEMORANDUM IN SUPPORT OF MOTION TO
16             V.                                            SUPPRESS EVIDENCE
17     CECIL TALLEY,
18                     DEFENDANT.                            HEARING DATE:     JUNE 16, 2020
                                                             HEARING TIME:     2:30 P.M.
19

20   TO: UNITED STATES OF AMERICA, PLAINTIFF; DAVID L. ANDERSON, UNITED STATES ATTORNEY;
         CHRISTINA LIU, ASSISTANT UNITED STATES ATTORNEY
21

22          PLEASE TAKE NOTICE that counsel for defendant, Cecil Talley, hereby moves this Court for an

23   order suppressing all fruits of the warrantless search of his car. Specifically, Mr. Talley moves to

24   suppress:

25          1) a Smith and Wesson pistol;

26          2) all ammunition;

27          3) all cell phones and information derived through analysis of seized phones; and

28          4) all biological evidence collected.

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 1          This motion is based on this notice and motion, the following memorandum of points and
 2   authorities and accompanying exhibits, the Fourth Amendment to the United States Constitution, all
 3   other applicable constitutional, statutory, and case authority, and such evidence and argument as may
 4   be presented at the hearing of this motion.
 5    Dated: May 12, 2020

 6                                                         Respectfully submitted,

 7                                                         STEVEN G. KALAR
                                                           Federal Public Defender
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                                                              /S/
 9                                                         ELLEN V. LEONIDA
10                                                         Assistant Federal Public Defender

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 1                           MEMORANDUM OF POINTS AND AUTHORITIES
 2                                                INTRODUCTION
 3           Cecil Talley was pulled over for driving his car in a bus lane in San Francisco on July 24, 2019.
 4   He pulled over promptly and complied with all the officers’ demands. Mr. Talley presented a valid
 5   driver’s license, his car was legally registered, and he had proof of insurance. Nonetheless, San
 6   Francisco Police Officers ordered Mr. Talley out of his car and searched it, ultimately finding a
 7   firearm. The officers later explained that they searched the car based solely on the presence of a small,
 8   closed container of marijuana in the center console.
 9           The state of California, however, has legalized the transportation of small amounts of marijuana
10   in precisely the type of container that was found in Mr. Talley’s car. Cal. Health & Safety Code §
11   11362.1; People v. Shumake, __Cal. Rptr. 3d at __, 2019 WL 8128736. The statute legalizing
12   possession and transportation of less than a gram of marijuana also specifically provides that
13   “[c]annabis and cannabis products involved in any way with conduct deemed lawful by this section
14   are not contraband nor subject to seizure, and no conduct deemed lawful by this section shall constitute
15   the basis for detention, search or arrest.” Cal. Health & Safety Code § 11362.1(c) (emphasis added).
16   The search of Mr. Talley’s car thus violated the Fourth Amendment, and all evidence seized as a result
17   of that search must be suppressed.
18                                           FACTUAL BACKGROUND
19           On July 24, 2019, Mr. Talley was pulled over by Officers Ishida and Griffin, of the San Francisco
20    Police Department, for driving his car in a bus lane. Leonida Decl. ¶ 2; Report of San Francisco Police
21    Officer John Ishida, Ex. A. at 109.1 Mr. Talley pulled over promptly and complied with the officer’s
22    directions. Leonida Decl. ¶ 5, 4; Preliminary Hearing Testimony of John Ishida, Ex. D, at 140; Video
23    from Glennon Griffin’s body worn camera, Ex. C. Mr. Talley had a valid driver’s license, current
24    registration, and proof of insurance for the vehicle. Ex. D, at 140.
25           Officer Griffin approached the car first and went to the driver’s side window to talk to Mr.
26    Talley. Ex. C, at 0:30. Mr. Talley rolled down his window and greeted Officer Griffin. Id. at 0:36.
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         All page numbers refer to the government Bates numbers.
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 1    Officer Griffin explained why they had pulled him over and asked for his driver’s license, which Mr.
 2    Talley provided. Id. at 0:45. Although Mr. Talley did have his registration and insurance cards, it took
 3    him a little while to find them in an envelope full of paperwork. Id. Officer Griffin told him to just
 4    keep looking and to hand it to Officer Ishida when he found it. Id. at 1:30.
 5           While speaking with Mr. Talley, Officer Griffin saw a small, closed plastic container of
 6    marijuana in the car’s center console. Id. at 1:41. The container’s lid was closed; in order to open it
 7    one would have to squeeze the sides together below the cap. Leonida Decl. ¶ 7; Photograph of
 8    Container, Ex. F. Officer Griffin asked Mr. Talley about the container. Ex. C, at 1:42. Mr. Talley
 9    picked it up and showed it to him—it was obviously closed. Id. at 1:46. Officer Griffin then walked
10    back to his patrol car and conducted a records check on Mr. Talley. Id. at 1:49.2
11           While Officer Griffin was talking to Mr. Talley, Officer Ishida approached the passenger’s side
12    and started talking to the passenger about her dog. Leonida Decl. ¶3; Video from John Ishida’s body
13    worn camera, Ex. B, at 0:16-0:35. He was still standing next to the passenger’s side of the car when
14    Officer Griffin went to his patrol car to run Mr. Talley’s license thirty seconds later. Id., at 0:30-1:00.
15    Officer Ishida then walked around to the driver’s side of the car and talked to Mr. Talley. Id., at 1:25.
16    Approximately two minutes later, he ordered Mr. Tally out of his car and Officer Griffin began
17    searching it. Id., at 3:50.
18           Officer Ishida, who was the investigating officer, later claimed that Officer Griffin had made the
19    decision to search the car. He testified at a state court preliminary hearing that: “during the course of
20    the traffic stop, Officer Griffin advised me that he had observed marijuana in – a [sic] unsealed
21    container of marijuana within the vehicle and advised me that we would be conducting a search of
22    the vehicle.” Ex. D, at 132. Officer Ishida testified that Mr. Talley was then removed from the vehicle
23    Id., at 132.
24           Officer Griffin’s preliminary hearing testimony was similar to Officer Ishida’s:
25                   Q: At what point during your initial contact with that gray Chrysler did you spot this
26                   open container of marijuana?
27

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     2
         Mr. Talley had no outstanding warrants and was not on probation or parole.
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 1                   A: While speaking with the driver prior to going back to my vehicle to conduct any sort
 2                   of check of his license.
 3                   Q: What happened next?
 4                   A: Next, I removed the driver from the vehicle, instructed my partner he would be
 5                   removed for being in possession of the open container of marijuana.
 6    Leonida Decl. ¶6; Preliminary Hearing Testimony of Glennon Griffin, Ex. E, at147; see also Id., at
 7    151 (“Q: And then you had him step out of the vehicle after he showed you the marijuana; A: that is
 8    correct.”).
 9          A review of the body camera footage of this incident reveals a wholly different version of events.
10    Officer Ishida’s body camera shows that he called dispatch to request “a unit, Code 1, for a search,
11    quick” almost immediately. Ex. B, at 1:18. Officer Griffin did not “remove the driver from the
12    vehicle” upon seeing the marijuana container; nor did he “instruct his partner” of a lawful
13    justification for a search. Ex. C, at 1:41–4:34. In fact, a comparison of the two officer’s body camera
14    footage reveals that Officer Ishida requested a unit “for a search” without having any conversation
15    whatsoever with Officer Griffin. Compare Ex. B 0:30-1:18; Ex. C 0:45-2:06.
16          After he called for a search unit, Officer Ishida walked over to the driver’s side of the car. Ex. B,
17    at 1:25. Rather than immediately removing Mr. Talley from the vehicle, Officer Ishida spent the next
18    several minutes chatting with Mr. Talley as the latter searched for his insurance paperwork. Mr.
19    Talley showed the officer a business card for the legal marijuana delivery business he and his cousin
20    had started and Officer Ishida assured him that he was not in trouble for transporting marijuana. Id.
21    at 3:03 (“It’s 2019 California, as long as it’s sealed and all that.”).
22          Nonetheless, Mr. Talley was later ordered from his vehicle, searched, and handcuffed while
23    officers searched his vehicle. That search revealed a firearm, ammunition, and several cell phones. Ex.
24    A.
25                                                    ARGUMENT
26         1.       The Government Bears the Burden of Justifying the Warrantless Search of Mr. Talley’s
                    Car
27
            The inquiry into the constitutionality of a warrantless search begins “with the basic rule that
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 1   ‘searches conducted outside the judicial process, without prior approval by judge or magistrate, are
 2   per se unreasonable under the Fourth Amendment—subject only to a few specifically established and
 3   well-delineated exceptions.” Arizona v. Gant, 556 U.S. 332, 338 (2009) (quoting Katz v. United States,
 4   389 U.S. 347, 357 (1967)). Given that warrantless searches are per se unreasonable, “the government
 5   bears the burden of showing that a warrantless search . . . falls within an exception to the Fourth
 6   Amendment’s warrant requirement.” United States v. Cervantes, 703 F.3d 1135, 1141 (9th Cir. 2012).
 7   When the government fails to carry its heavy burden, id. at 1142 n.1, all fruits of the Fourth
 8   Amendment violation must be suppressed. Id. at 1143.
 9          Here, San Francisco Police officers searched Mr. Talley’s car without a warrant or probable
10   cause. The government cannot meet its burden to show that the warrantless search of Mr. Talley’s
11   vehicle fell within an exception to the warrant requirement. All fruits of the unconstitutional search
12   must therefore be suppressed.
13        2.      The Warrantless Search of Mr. Talley’s Vehicle Violated the Fourth Amendment
                  Because the Officers Lacked Probable Cause
14

15          The government cannot rely on the automobile exception to the warrant requirement to justify

16   the search of Mr. Talley’s car. A warrantless search of an automobile is reasonable under the Fourth

17   Amendment only where officers have “probable cause to believe that the vehicle contains

18   contraband” such that the “facts . . . would justify the issuance of a warrant, even though a warrant

19   has not actually been obtained.” United States v. Ross, 456 U.S. 798, 808-809 (1982). Probable cause

20   exists when, under the totality of the circumstances, “there is a fair probability that contraband or

21   evidence of a crime will be found in a particular place.” United States v. Luong, 470 F.3d 898, 902 (9th

22   Cir. 2006). The inquiry into probable cause is particularized and based on the “objective facts known

23   to the officer at the time of the search.” United States v. Rodgers, 656 F.3d 1023, 1029 (9th Cir. 2011).

24   “Police ‘obtain probable cause because the facts indicate that they will find what they are looking for

25   in the place to be searched.’” Id. (quoting United States v. Johnson, 256 F.3d 895, 906 (9th Cir. 2001))

26   (emphasis in original).

27          At the time Officer Griffin searched Mr. Talley’s car, he did not have probable cause to believe

28   it contained evidence of a crime. Absent independent suspicion, the traffic stop gave Officers Griffin

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 1   and Ishida no authority to investigate anything beyond the traffic violation, let alone to search the car.
 2   See Rodriguez v. United States, 575 U.S. 348, 357-8 (2015). Officer Ishida’s body camera reveals that
 3   he requested a unit to assist with searching the car within a minute of approaching the passenger
 4   door—and without having any conversation whatsoever with Officer Griffin. Given Officer Ishida’s
 5   sworn testimony that he never saw marijuana in the vehicle, Ex. D, at 140, his decision to search the
 6   vehicle was, at best, based on an unsupported hunch.
 7          Furthermore, even if the decision to search Mr. Talley’s car was based on the presence of a
 8   small, closed container of marijuana in the center console, the search still violated the Fourth
 9   Amendment. The closed container of marijuana was transported in compliance with California law
10   and an officer’s erroneous understanding of that law cannot justify a warrantless search.
11              2.1 The Warrantless Search of Mr. Talley’s Vehicle Cannot Be Justified by the Presence
                    of a Closed Container of Marijuana Inside His Car
12
            California law regulating marijuana has changed dramatically over the past several decades. As
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     social and legal values surrounding the possession and use of marijuana have become increasingly
14
     more permissive, the law has become increasingly less prohibitive. This “sea-change” in the way
15
     California law approaches marijuana culminated in the passage of Proposition 64 by the voters in
16
     November 2016. People v. Lin, 236 Cal. Rptr. 3d 818, 821 (Cal. App. Dep’t Super. Ct. 2018).
17
     Proposition 64 decriminalized the possession of less than 28.5 grams of marijuana by persons 21 years
18
     or older. See Cal. Health & Safety Code § 11357(b)(2). As codified, it provides that “cannabis and
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     cannabis products involved in any way with conduct deemed lawful by this section are not
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     contraband nor subject to seizure, and no conduct deemed lawful by this section shall constitute the
21
     basis for detention, search or arrest.” Id. § 11362.1(c).
22
            Among the Legislature’s responses to Proposition 64 was to amend California’s open container
23
     law. Prior to the amendments, Vehicle Code Section 23222(b) had prohibited any possession of
24
     marijuana while driving. 2010 Stats., ch. 708 (S.B. 1449), § 2 (West’s Cal. Legis. Service). As
25
     substantially amended in June 2017, the statute now reads:
26

27                  Except as authorized by law, a person who has in their possession on their
                    person, while driving a motor vehicle . . . a receptacle containing cannabis
28                  or cannabis products . . . which has been opened or has a seal broken, or
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 1                  loose cannabis flower not in a container, is guilty of an infraction
 2                  punishable by a fine or not more than one hundred dollars ($100).

 3    Cal. Veh. Code § 23222(b)(1) (as substantially amended by Stats. 2017, ch. 27 (S.B. 94) (West’s Cal.

 4    Legis. Service)). The amended statute’s intended application was limited. According to the Senate

 5    Floor Analysis, the amendment created “a new infraction if a person has opened cannabis or cannabis

 6    products in the car.” Sen. Rules Com., Off. Of Sen. Floor Analysis, Analysis of Sen. Bill 94 (2017-2018

 7    Reg. Sess.) as amended June 9, 2017 (emphasis added).

 8          Mr. Talley did not violate California’s open container law because the small container of

 9    marijuana on his center console was closed. Because he lawfully possessed it, the container could not

10    then serve as the basis for the search of his car.

11                  2.1.1 The Container of Marijuana in Mr. Talley’s Car Was Not an “Open
                          Container” Under California Law
12
            The container of marijuana in Mr. Talley’s car was not an open container within the meaning
13
      of Section 23222(b)(1). In People v. Shumake, the Appellate Division of the Alameda County Superior
14
      Court held that a driver’s possession of a closed but not “sealed” plastic container of marijuana did
15
      not violate that statute. __Cal. Rptr. 3d at __, 2019 WL 8128736 at *2, *4 (Cal. App. Dep’t Super. Ct.
16
      2019). In Shumake, a Berkeley police officer pulled over a driver for a Vehicle Code violation. Id.
17
      When she spoke to the driver, the officer smelled marijuana and asked him if he had any. Id. He said
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      that he did, in the center console. Id. Thinking that marijuana had to be in a “closed, heat-sealed
19
      package” when transported and that such packaging would eliminate the smell, she believed the
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      driver was violating Section 23222(b) and proceeded to search the car. Id. She quickly discovered a
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      plastic tube containing loose marijuana flower buds. Id. The plastic tube was closed and “could be
22
      opened by squeezing the sides of the tube, which flexed the top open.” Id. Justifying her continued
23
      search on this discovery, the officer then found a firearm in the car. Id.
24
            Shumake held the search unlawful and suppressed the firearm. Id. at *4. The court ruled that
25
      possession of the closed container of marijuana was lawful despite the fact that it was not “sealed”
26
      and that the officer’s “belief that any cannabis being transported in a vehicle must be in a heat-sealed
27
      container is not supported by the plain language of Section 23222(b)(1).” Id. at *2. Shumake explicitly
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 1    rejected the argument that the officer’s discovery of a closed container of marijuana provided
 2    probable cause to believe there was more marijuana in the car. Id.; see also People v. Lee, 40
 3    Cal.App.5th 853, 866 (4th Dist. 2019) (“possession of a small and legal amount of marijuana provides
 4    scant support for an inference that [the] car contained contraband”).
 5          The facts here are indistinguishable from Shumake. Just as in Shumake, the container of
 6   marijuana in Mr. Talley’s center console was a closed plastic tube containing loose marijuana flower
 7   buds. See id.; Ex. F. The container could only be opened by squeezing the sides, which flexed open the
 8   top. Id. Just as in Shumake, Mr. Talley was forthright about his possession of the container. See 2019
 9   WL 8128736 at *1; Ex. E, at 1:46. He picked it up and showed it to Officer Griffin. Ex. E, at 1:46. The
10   footage from Officer Griffin’s body camera clearly shows that the container was closed. Id. Officer
11   Griffin’s erroneous opinion that the container should have been “sealed” cannot justify his search of
12   Mr. Talley’s car. See Shumake, 2019 WL 8128736 at *2.
13          A comparison of this case with People v. Fews, 27 Cal.App.5th 553, 563 (1st Dist. 2018) further
14   highlights the flaws in the justification offered by Officers Ishida and Griffin for their search of Mr.
15   Talley’s car. Fews held that a search of a vehicle was justified where officers: (1) observed the
16   defendant driving erratically; (2) noted that he did not comply with the officer’s instructions after
17   pulling over; (3) saw the defendant make multiple furtive movements; (3) smelled recently burned
18   marijuana; and (4) saw a “half-burnt, flattened, and rerolled cigar” in the vehicle. Id. at 556-57, 563.
19   The search in that case was justified because a half-burnt marijuana cigar is, literally, an open
20   container of marijuana—and the odor of freshly burnt marijuana and erratic driving supported an
21   inference that the driver had been operating a vehicle under the influence. Id. at 563. The Shumake
22   court contrasted that factual scenario with the facts before it—no violation of the open container law,
23   no partially smoked cannabis in plain view, no erratic driving—and found that the justification for
24   the search in Fews simply did not apply there. 2019 WL 8128736 at *4. Here, also, the small container
25   of marijuana in Mr. Talley’s car was closed, there was no odor of burnt marijuana, and Mr. Talley’s
26   actions gave no indication whatsoever that he might be under the influence.
27                  2.2.2 The container was not on Mr. Talley’s person
28          Furthermore, Section 23222(b)(1) prohibits transportation of open containers of marijuana

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 1   only when the driver has the container “in their possession on their person.” See Cal. Veh. Code §
 2   23222(b)(1) (emphasis added). A California appellate court has held that the statute’s parallel alcohol
 3   provision is “not violated unless the evidence establishes that the open container of alcohol was
 4   connected to the person of the defendant[.]” People v. Squadere, 88 Cal.App.3d Supp. 1, 4 (App. Div.
 5   Dep’t Super. Ct. 1978). Here, the container was in the center console.
 6                                               CONCLUSION
 7          As codified, Proposition 64 provides that “[c]annabis and cannabis products involved in any
 8   way with conduct deemed lawful . . . are not contraband nor subject to seizure, and no conduct
 9   deemed lawful by this section shall constitute the basis for detention, search or arrest.” Cal. Health &
10   Safety Code § 11357(b)(2) (emphasis added). Marijuana lawfully possessed in a closed container
11   cannot serve as the basis for a search during a traffic stop. Shumake, 2019 WL 8128736 at *2. As
12   conduct deemed lawful under Proposition 64, Mr. Talley’s possession of the closed container of
13   marijuana was an impermissible basis on which to search his car. See Cal. Health and Safety Code §
14   11362.1(c); Shumake, 2019 WL 8128736 at *2. Thus, all evidence seized as a result of the unlawful
15   search must be suppressed.
16    Dated: May 12, 2020

17                                                            Respectfully submitted,

18                                                            STEVEN G. KALAR
                                                              Federal Public Defender
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                                                                 /S/
20                                                            ELLEN V. LEONIDA
21                                                            Assistant Federal Public Defender

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